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                                         August 20, 2021

Via ECF

Hon. Robert M. Levy, USMJ
United States District Court, EDNY
225 Cadman Plaza East
Brooklyn, NY 11201
                       Re: Olivares v. Los Paisanos Meat Market Inc. et al
                           Case #: 20-CV-06375 (ARR)(RML)
                           Motion for Settlement Approval

Dear Magistrate-Judge Levy:

        My firm represents plaintiff Edgar Olivares (“Plaintiff” or “Olivares”) in the above-
referenced action, and I respectfully write to seek approval of the settlement in this action in this
action as per Your Honor’s order. Defendants and Plaintiff all join in urging this Court to
approve the settlement as fair and reasonable – Plaintiff writes in support of the motion. Exhibit
1 is a copy of the settlement agreement signed by Plaintiff – a fully executed copy of the
settlement agreement will be provided to the Court once Defendants’ formally sign.

        Plaintiff’s claims in this action are more fully set forth in the complaint. (ECF No. 1). In
essence, however, Plaintiff brought claims to recover unpaid overtime wages and spread of hour
wages under the FLSA and NYLL as well as liquidated damages. Plaintiff also seeks to recover
penalties for violation of the wage statement and wage notice requirements of NYLL 195.

        Based on the allegations in the complaint, Plaintiff is owed approximately $63,427
($33,579 in overtime wages and $29,848 in spread of hour wages) under the six-year statute of
limitations period – including about $9,158 in unpaid overtime wages under the FLSA’s two-
year statute of limitations period for non-willful violations. Plaintiff was employed by
Defendants from in or around 2003 to on or about June 27, 2020. The complaint in this action
was filed on December 31, 2020. (See ECF No. 1).

        Assuming Plaintiff prevails on his wage notice and wage statement violations he could be
entitled to another $10,000 maximum ($5,000 each). The jurisprudence as to the wage notice and

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wage statement claims is not settled – recovery under these claims is also not protected by the
FLSA – these are NYLL claims. Plaintiff was provided with wage statements – there may be a
technical dispute as to whether the wage statements were fully compliant.

        In general, allegations and facts are refined as information is exchanged in the case – this
is especially true in wage cases where the employer has an obligation under the FLSA and
NYLL to keep and maintain wage, time, and employment records. Moreover, the allegations and
claims were further refined after extensive discussions, exchange of information and input at the
mediations conducted by an experienced FLSA mediator from this Court’s mediation program –
Mr. Raymond Nardo.

        It is Defendants’ position that Plaintiff may not be entitled to overtime wages, and they
have produced records purporting to show that he was paid overtime wages correctly and that he
may only be owed a much smaller amount of spread of hour wages. Defendants may also be
able to avoid the imposition of liquidated damages if they prove a good-faith affirmative defense.
Defendants also dispute the work hours alleged by Plaintiff. In general Defendants deny
Plaintiff’s allegations.

        After weighing the law and the facts as well as the strengths and weaknesses of the
parties’ position and the impact of the COVID-19 pandemic, Mr. Raymond Nardo, an
experienced FLSA mediator through this Court’s program, made a settlement recommendation
that was accepted by the parties at the second mediation session held in this case – the first
mediation session was adjourned so additional documents and information could be obtained.

        The total settlement amount is $35,000. (See Ex. 1 ¶ 2). Under the settlement, Plaintiff is
due to receive $22,517 after costs and a 1/3 contingency fee in three installments.

        Under the settlement agreement, Plaintiff’s counsel is due to receive reimbursement of
One Thousand, Two Hundred and Twenty-Five Dollars ($1,225) in filing ($400), mediation
($550) and service costs ($275), plus a 1/3 contingency fee of Eleven Thousand, Two Hundred
and Fifty-Eight Dollar ($11,258)1. (See Ex. 1 ¶ 2). See Venegas v. Mitchell, 495 U.S. 82, 89-90



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 See Venegas v. Mitchell, 495 U.S. 82, 89-90 (1990). Plaintiff’ Counsel’s retainer rate is $600 and the retainer
agreement with Plaintiff states in relevant part as follows:

          The amount of Attorney's contingency fee will be the greater of:
(a) A reasonable percentage fee which is one-third (1/3) of all sums recovered on Client's behalf; or

(b) A reasonable hourly fee which is the amount of Attorney's hourly rates as laid out below times the number of
hours spent by the Attorney on Client's behalf; or

(c) A separate recovery of fees such as where a court or other tribunal awards attorney's fees or where a defendant(s)
settles a demand for fees.

See also Brown v. Starrett City Associates, 2011 WL 5118438, 8 (E.D.N.Y.), the court, citing Venegas, also noted
that even when a court makes a lodestar fee award, “The award is then subject to whatever private contractual
agreement exists between plaintiff and his or her counsel.”

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(1990). See also Fisher v. SD Prot. Inc., 948 F.3d 593 (2d Cir. 2020)(relying on “the text and
purpose of the FLSA, as well as longstanding case law interpreting other similar fee-shifting
statutes in the civil rights context,” in applying the FLSA under Cheeks. – such longstanding
case law includes the application of Venegas which holds that fees that a plaintiff owed his
counsel is governed by the retainer agreement and not by statutory fee-shifting provisions).

        Plaintiff’s counsel has received similar or higher legal fees in other FLSA settlements
approved by courts. Kirkland v. ASA College, Inc. et al, 16-cv-02908 (Magistrate-Judge Levy –
EDNY)(1/3 fee of $12,978 under Cheeks); Drammeh v. TGS Washes, LLC et al, Case No. 18-
CV-05879 (Magistrate-Judge Levy - EDNY May 29, 2019)(1/3 fee of $8,714 under Cheeks);
Hysa et al v. Midland Electrical Contracting Corp. et al, Case No. 13-CV-6837 (Chief
Magistrate-Judge Mann, January 2016 - approving 1/3 fee of $103,607.94); Andrea Carter v.
Long Island Care Center, Inc., Case No.15-cv-4058 (PKC)(VMS), (February 19, 2016 text only
order – approving a 1/3 fee of approximately $26,000); Palermo v. Efficient Staffing Solutions
LLC et al, 17-CV-00658 (Magistrate-Judge Reyes – EDNY)(1/3 fee of $9,815 under Cheeks);
Vassell v. Village Plumbing & Heating, Inc. et al, 17-CV-03510 (Magistrate-Judge Pollak –
EDNY)(1/3 fee of $8,815 under Cheeks); Ortiz v. Threeline Imports, Inc. et al, 17-cv-02411
(Magistrate-Judge Pollak – EDNY)(1/3 fee of $8,148 under Cheeks); Myers v. Bowl 360 Inc. et
al, 16-CV-06684 (Magistrate-Judge Reyes – EDNY)(1/3 fee of $6,815 under Cheeks); Harris v.
O'Connell Protection Services, LLC et al, 17-CV-02226 (Judge Feuerstein – EDNY)(1/3 fee of
$10,315 under Cheeks); Kevin Lynch v. Consolidated Edison, Inc., Case No. 16-CV-1137, ECF
No. 37 (Judge Furman - approving 1/3 fees of $14, 826 under Cheeks)(“the Court sees no basis
to reduce the fee where, as here, there are no opt-in plaintiffs, the case is not a collective action,
and the attorney’s fee award is based on an agreement between Plaintiff and his attorney.”);
Persaud v. Consulate General of Guyana in New York et al, Case No. 16-cv-01755 (approving
1/3 fees of $23,080); Domenech v. Parts Authority, Inc. 15CV-3595, ECF No. 41, 42 (ILG -
EDNY) (approving $35,000 in damages and $70,000 in fees and costs under Cheeks); Jones v.
Bryant Park Market Event LLC, 13-CV-1369, ECF Entry of 10/24/2016 (AJP -
SDNY)(approving $4,000 in damages and $55,000 in fees and costs under Cheeks).

        In the circumstances of this case, the settlement is fair and reasonable for several reasons.
First, Defendants’ dispute liability and if a jury believes Defendants, Plaintiff will receive a lot
less or nothing. Second, the settlement amount is the product of a mediator’s proposal. Third,
Defendants dispute the hours and wages claimed by Plaintiff. Fourth, it appears that Defendants
cannot afford to pay a higher settlement number as further confirmed by the installment nature of
the settlement. Fifth, there appears to be a desire by all parties to resolve the case early and avoid
the significant financial and non-financial costs/harms of litigation.

      Therefore, it is respectfully requested that this Honorable Court approve the settlement
agreement as fair and reasonable.


See Almond v. PJ Far Rockaway, Inc., 2018 WL 922184, at 1 (E.D.N.Y. Feb. 15, 2018) (awarding Mr. Hassan a
450/hr rate in the context of a fee-shifting fee application and noting that "Hassan has been practicing law since
2001 (17 years) and has litigated over 400 employment and wage cases in federal court. He has argued a number of
significant employment cases before the Second Circuit.")


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Respectfully submitted,

Abdul Hassan Law Group, PLLC

_/s/ Abdul Hassan____________
By: Abdul K. Hassan, Esq. (AH6510)
Counsel for Plaintiff

cc:    Defense Counsel via ECF




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